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                       UNITED STATES DISTRICT
                          COURT NORTHERN
                        DISTRICT OF FLORIDA
                        PENSACOLA DIVISION

  IN RE: 3M COMBAT ARMS                        Case No. 3:19-md-2885
  EARPLUG PRODUCTS
  LIABILITY LITIGATION

                                               Judge M. Casey Rodgers
  This Document Relates to All Cases           Magistrate Judge Gary R. Jones


                     MOTION TO APPEAR PRO HAC VICE

      Pursuant to Pretrial Order No. 3, Case Management Order No. 1, and the

Northern District of Florida Local Rule 11.1, Timothy W. Porter (“Movant”) of the

law firm Porter & Malouf, P.A., 825 Ridgewood Road, Ridgeland, MS 39157,

respectfully moves for admission to practice pro hac vice in the above-styled case,

and in support thereof state as follows:

   1. Movant resides in Mississippi and is not a resident of the State of Florida.

   2. Movant is not admitted to practice in the Northern District of Florida.

   3. Movant is admitted to practice and is a member in good standing of the Bar of

      the State of Mississippi.

   4. A copy of a Certificate of Good Standing from the State of Mississippi dated

      within thirty (30) days of this motion is attached hereto as Exhibit “A”.
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   5. Pursuant to Pretrial Order No. 3 and Local Rule 11.1, Movant has successfully

      completed both the online Local Rules tutorial exam, confirmation number,

      FLND16316565094914, and the CM/ECF online tutorial.

   6. Movant has submitted to the Clerk the required $208.00 pro hac vice

      admission fee.

   7. Movant has upgraded his PACER account to “NextGen.”

   8. Movant is the attorney of record in the following case, among others:

      Michael Dustin Ihde v. 3m Company, et al, 8:20-cv-16913-MCR-GRJ.

   9. Upon admission, Timothy W. Porter respectfully requests that he be provided

      Notice    of     Electronic   Filings   to   the   following   email    address:

      tim@portermalouf.com.

      WHEREFORE, Timothy W. Porter respectfully requests that this Court enter

an order granting this motion to appear pro hac vice and directing the clerk to provide

notice of Electronic Case Filings to the undersigned.


Dated: September 16, 2021                Respectfully submitted,


                                         By: /s/ Timothy W. Porter
                                         Timothy W. Porter
                                         Mississippi State Bar No. 9687
                                         Porter & Malouf, P.A.
                                         825 Ridgewood Road
                                         Ridgeland, MS 39157
                                         Tel: 601-957-1173 / Fax: 601-957-7366
                                         Email: tim@portermalouf.com
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                        CERTIFICATE OF SERVICE


      The undersigned, an attorney, certifies that the foregoing Motion for

Admission Pro Hac Vice was filed electronically with the Clerk of the Court using

the CM/ECF system on September 16, 2021 and served electronically on all

counsel of record.


                                      By: /s/ Timothy W. Porter
                                      Timothy W. Porter
                                      Mississippi State Bar No. 9687
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